             Case 2:08-cr-20022-PKH                          Document 66                     Filed 02/27/09            Page 1 of 4 PageID #: 168
qAO 245IJ          (R€r'.06/05)Judgmcnt
                                      in I CriminalCare
                   SheetI



                                             UNITED
                                                  SrnrEsDrsrnrcr Counr
                              WE$TERN                                               District of                           ARKANSAS
             UNITEDSTATESOF AMERICA                                                       JT]DGMENT IN A CRIMINAL CASE
                       Y.

            JORGEIIERNANDEZ-MANZANO                                                       CaseNumber:                     2:08CR200?2402
                                                                                          USM Number:                     0E457-010


TIIE DEFENDA]TIT:
X pleadedguilty(o cdunt(s)               Fivc    o f t h e I n d i c t m e l to n

E plc*lcd nolo contcndereto count(s)
    which was acceptedby the c(}url,                                                                                               cttHsR.J0.{i/sffi,
                                                                                                                                                   ETERK
I   wa6 found guilty on court(E)                                                                                         E[
    aftera plel of not guilty,

The defeudant
            is adjudicqtrdBuiltyof thcseoffenses:

Ti$!-6i-C.E!$on                         N{ture of0ffetrse                                                                 Off'}nir Ended          Cotrnt

2 l U . S . C $. 8 4 1 ( t r X lr)n d   Distributiorof More Than5 Crsmsof Mcthsmphetamine;
                                                                                        Aidirg                                02i06/2008
( b X l X B ) ; l 8 U . s . c .$ 2      [nd Absttinc




       Thc defendant is rentenced
                                te providcdin pager2 through       4      ofthir judgftent. Thc scntcnce
                                                                                                       is irnposed
                                                                                                                 wirhiflthe
stfltutoryra[ge andtheU,S,SelltcnsingGuidelineswereconsidsrcdss sdvisory.

E Thc defendant
             hasbeenf0undnot guiltyon count(E)

X Count(s)                   One(l) thronehFour(4)                 n ic             X arc dismissed
                                                                                                  on the rnationofthc UnitodSrares-

         It i! ordetedlh8tthcdEfcndsnt  mustnotily theUnircdSHtcssttornevfor thisdistrictwithin30 dflv3of anvchanseof ntme-residrncr.
or meiling-address untitqltfinet,restitution,
                                           costs,andspecialassetcmcnts
                                                                     im-pogod by thisjudgment  arefuliypeid.-Ifordired to payresritution,
thc dcfcndantmustnotifythecourtsnd UnitcdStatesaitorney0l rtlgtcri$lchangos    ii ecoriornic
                                                                                           circufictsn;;s.

                                                                                          Februarv26. 2009
                                                                                          DBteof lnFosirionof Judgmqnt


                                                                                        v /S/ Robert T- fjsw8on
                                                                                          SignarurcofJudgc




                                                                                          Honorf,bloRobert T- Datvson, Unitcd Stf,tcsDistrict Judee
                                                                                          N no 8ndTitleof Judsc


                                                                                          F e h r u 4 r2y7 , 2 0 0 9
           Case 2:08-cr-20022-PKH                 Document 66               Filed 02/27/09         Page 2 of 4 PageID #: 169
AO2c5B      (Rw. 06/05),udgmcntin CrirninulCasc
            Shcct 2 -   IrEpriEonmdrt

                                                                                                     Jud8ment- PsBe _3_   of
DEFENDANT:                       JORGEHERNANDEZ-MANZANO
CASENUMBER:                      2:08CR20022-00?


                                                             IMPRISONMENT

      The deibndaatiff hefeby Comlnittcdto the custody ofthe United StatesButeru OfPrisons to bc imprisonad for 0
totsl tcrm ofr     one hundred elght (108) fionthE, No supcrvisionwill follow term o f itnprisonrhent, It i$ snticipatcddcfcndantwill
bc dcportcd following his tcrm of imprisonment.




 X     The court makesthe followilg tecomm6ldutione to thc Bttrcau ofFrisons:
       The defcfldantpatticipatc in the Bureauof Prisonsco.mprehcnsivc
                                                                     500 hour substanceabusetreatmentprogramor flfly
       substancesbusetreatmentprogramthat may be availablE.



 X     The dcfcndantis rcmarded to the custody of rhd Unitcd StfltcsMarshal,


 tr Thc dcfcndantshall surrenderto rhe United ShrtcsMflrshal for this district:
       l o t                                      D   a.m.     n   p.tn.    on

       !      asfiotifiddby thc UnitcdStatesMarshal-

 tr    The defendtrnt
                   thull surrcndcrfor serviceofsentenceet ths institutiondesignated
                                                                                  by theButcsuofPrisonsr

       n      before2 F,m,on

       n      asnotifiedby tbeUnitcd StatcsMarshal-

       n      ru notificdby the Probarionor PrerrialScrviccsOffice.



                                                                   RETURN
I hsvc oxooutedthis judgment 0s fbll0w$:




       Defenrlent dclivcrcd on


                                                      with a cortified copy of this judgmcnt.




                                                                                                  UNITBDSTATES
                                                                                                             MAJTSHAI


                                                                           Bv
                                                                                                DEPUfi TJNTIED
                                                                                                             STATES
                                                                                                                  MAXSHAL
           Case 2:08-cr-20022-PKH                            Document 66                    Filed 02/27/09                Page 3 of 4 PageID #: 170
A() 2458    (Rsv,06/05)Judgnentih a CrimirulCus€
            Sheel5 -    Crirninsl Mclllcll|rvPcndtics

                                                                                                                           Jud8ment lage _l_                  of
DEFENDANT:                             JORGEHERNANDEZ-MANZANO
CASENUMBER:                            2:08CRZ00??-00?
                                             CRIMINA L MONETARY PENALTIES
     The defendBnt lnurit Fsy the tot$l criminf,l lrronetarypenaltiesunder the schedulFof psymcnts on Shact o.


                         @cn!                                                         E!$,                                          ReEtltutlon
TOTALS              $    100.00                                                      $ 1,500.00                                 s - 0-

!    The determinationofrettitution is dcforrcd until                                hn   Amended Judgment in a Criminal Card(AO245C)                           will be entered
     after such determinutiofl ,

D    The del'qndBnt
                  must mf,kc rcstitlltion (including comfiurrity rEFlitution)to thc following payeesin the am0ufir listed below,

     lf the defendantmake$tr Frrtiul prymcnt. cach payee shall receivean approximBtElyproportionodpayment,unlessspecifiedotherwiseiil
     thc-prionty order o-rpercenragepuymcnt qolumn bclow, However, pursrrantr0 l8 U,S.C, $ 3664(i), all nonfederalvictims must be paid
     oclorg me unlleo Dtarcsls p8l{I.

N4!ne ofPayee                                       TqlAtLors*                                Rcttltution Ordered                               prlorltv or pcrccdtatro




TOTALS


tr   Rcstitutionsmount ordorod pursualt to plea agrcdmqnt g


H    The defendantmust p&y ifitersston rcstit tion and a fine ofmore thon $2,500, unlcsstho rcrtitution or fine is paid in full before the
     f i f t c c n t h d B y a f t e r t h e d a t e o f t h e j u d g m s n l , p u r s u s r t t o l 8 U , S . C . $ 3 6 1 2 ( t )A
                                                                                                                                    . llofthep{yrnentoptionBonShcot6mf,ybos bject
     to    pcnsltics      for dclinquencyand detrult, Fur$u$ntto l8 U,S.C, 36t2(g).                          g


X    Thc court detenninedthat the del-endsnldoes not havc the ability to pay interesttrnd it jS Orderedthsl;

     X     the intffest rcquircmcnt is waived forthe                  X       fine    !    rcstitution,

     E     the inteteEtrequirEmsntfor thc               fl     fine       n     resrirutionir modifiod as followsr



* Findingsfor the total arnountoflossesure rsquircd undcr Chflpters1091\,| 10, I l0A,
                                                                                      *nd I l3A ofTitlc l8 for offensescommittedon or after
S c p t c m b c r1 3 , 1 9 9 4 ,b u t b e f o r eA p r i l 2 3 , 1 9 9 6 .
          Case 2:08-cr-20022-PKH                        Document 66        Filed 02/27/09         Page 4 of 4 PageID #: 171
AO 2458   (REv.t)6/d5)Judgmqntin a CfimiIf,l Cnse


                                                                                                      J{dsm€rt - Pssc 4          of
DEFENDANT:                JORCEHERNANDEZ-MANZANO
CASENUMBER:               2:08CR200?2-00?

                                                        SCHEDULEOF'PAYMENTS

Ilaving aFscs$cd
               ths dclcndent's ability to pay, payftsnt ofthc totf,l criminal Dloneterypenelticsarc duc as follows:

A    X    Lump EumFsymeflt 0f$                                due imfisdistFly, balf,ncedue


          D     not laterthan                                     ,or
          X     in accordance          tr   C,      !    D,   n    E,or     ff Fbclow:or
B     N   PBymcnlto begin imrnediately(m+y bq combined with               H C,      I   D, or   E F belorv);or

c    !    P[yrttcnt in cqual                   (e,9,,wcckly,monthly,qutrrterly)          of $
                                                                              installmcnts                        ovcr e pcriod of
                         (e.9., rnonthsor yesrs), to commence _(o,S.,30           or60 days) afterrhe d{te of thiBjudgmont; o!

D    n    Pf,ymenlin equol                (e,g-,weekly,monthly,quarterly)installmenrs
                                                                                    of $                  overa periodof
                      (c.9,,monthsor years),to commcnce_            (e,S,,30or 60 days)afterreleaseftom ihprironmcntto a
          termofsupervision; ot

     E    PaytfleflldurinB
                         thc tc n ofsupervistdrEltsBE yrill oommence witlin _(".g.,30           or60 days)flflefrelcsecfrom
          impri8onmcnt. l he courtwill tet thc psymcntplaDbaEed oa [n s8ssssmcnt               [bility to pByet lhattime;or
                                                                               of thedefend8nt'$

     X                      regardingthepuyrhsntofcriminalmonet{rypcnBltica:
          SpFqislinstruotions
          Tfnot pnid immediately,any unFoid fin$ncialponaltyirnfrosedth$ll bc Dsid durins       lhe Deriodofificar$crBtionEt f, mtc ofnot less
                                                                                              -grglti:r,
          than $2J,00 quarterly, or | 0% of thc dcfcndant's quirrtrrly cerningr, whichever is




UnlEsslho courthasexJtressly ordcrcd othcrwise.ifthisjudgmEnt impoEeEimprirontneflLpsvmcnt ofcriminal monetarynenalticeis rluc durine
imprtronment, All crimifiHl monctary pena.ltie-s,.except thosc payments tnade through thc Fcdcral Bureau of Prjltins' Inmctc Financia'l
RcsponsibilityFrogrtrm,trrs mEdc to thc clerk ofthe courr.

'fhe defendant
              shsll rcccivc crcdit for sll FayfisntEpr0viously made towErd sny qriminol monctary penllties irnposcd,




E    JointandSevsral

     Defendant
             ondCo-Dcfcndant                                     numbor),.l otal Amoufit,Jointsnd SovoralAmounr,
                             NamesandcsseNumbcrs(includingdefend$nt
                   plyee,if sppropriate-
     andcorresponding




E    The dtfcndantshallpaythe costofprocEsrtion,

fl   The defendonr
                shallpsy tho followirg courrcost(r);

E    The dEfcndantshall forfeit the defendart'Einterestin rhe foltowing propertyto rhr Uniftd Statcal




P_eygrcnts shallbe_applied
                         inlhc followingordet:(l) asscssment, (2) restitution
                                                                            principal,(3) rcsriruriod
                                                                                                    inrcrcst,(4) fine principal,
(5) fine interest,
                 (6) communityrestitution,
                                         (7) penaltios,
                                                      and(8) coits,iDcludingcostilfiioiecution andcourtcosrs.
